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                                                     July 18, 2023
Honorable Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square
N.Y., N.Y. 10007                                  Re: U.S. v. Michols Pena
                                                     20 Cr. 600 (ER)

Dear Judge Ramos:

      I am writing to request that the sentencing of Michols Pena currently scheduled
for August 1, 2023 be adjourned to a date after September 6, 2023. I need this
adjournment in order to confer with my client and prepare sentencing submissions.

  I have conferred with the Government and they have no objection to this request.
Thank you for time and consideration in this matter.



                                                         Respectfully yours,

                                                               /S/
                                                        John Burke
                                                  Attorney for Michols Pena



  Sentencing is adjourned to September 7, 2023 at 2:30 p.m.
  SO ORDERED.




           7/18/2023
